 Case 7:18-cv-00544-MFU Document 7 Filed 01/10/19 Page 1 of 1 Pageid#: 58


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prejudiceandSTRICKEN from theacdvedocketofthecourt.


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